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 7
                               IN THE UNITED STATES DISTRICT COURT
 8

 9
                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                        )   CASE NO. 1:19-CR-00074 DAD
                                                      )
12                                                    )
                                    Plaintiff,        )   STIPULATION TO MODIFY DEFENDANT
13                                                    )   FLORES DE LA RIVA’S CONDITIONS OF
                         v.                           )   RELEASE; ORDER
14                                                    )
     RAFAEL FLORES DE LA RIVA,                        )
15                                                    )
                                                      )
16                                 Defendant.         )
                                                      )
17
     TO THE HONORABLE COURT:
18

19              WHEREAS, Defendant Rafael Flores De La Riva is currently on pretrial release per

20   this Court’s Order dated March 26, 2019 (Dkt. No. 18); and
21
                WHEREAS, one of his current conditions of release, Condition No. 7(k), imposes
22
     home incarceration and electronic monitoring, among other restrictions on the defendant’s
23

24   liberty;

25              WHEREAS, Defendant and the Government have agreed that the defendant requires
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     flexibility to assist with transportation of his children and other family obligations since his
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     wife is now working outside the home; and
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 1           WHEREAS, the parties are informed of the defendant’s positive performance during
 2
     his six months in pretrial release and that Pretrial Services has no objections to the requested
 3
     modifications; and
 4

 5
             WHEREAS, Pretrial Services Officer Frank Guerrero has no objections to this request.

 6           IT IS HEREBY STIPULATED that the Defendant’s pretrial release Condition No. 7(k)
 7   be amended to remove the home incarceration requirement and add the following sentences:
 8
     “You are restricted to your residence every day from 9:00 pm to 6:00 am, or as adjusted by the
 9
     Pretrial Services office or supervising officer, for medical, religious services, employment or
10

11   court-ordered obligations. All other conditions not in conflict with this order shall remain in

12   full force and effect.”
13

14   Dated: September 27, 2019                     /s/ Virna L. Santos____________
                                                   VIRNA L. SANTOS
15                                                 Attorney for Defendant
                                                   Rafael Flores De La Riva
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17
     Dated: September 27, 2019                     /s/ Jessica Massey_____________
18                                                 JESSICA MASSEY
                                                   Assistant U.S. Attorney
19
                                                   On Behalf of the United States of America
20

21                                               ORDER
22
            IT IS SO ORDERED.
23

24   Dated: September 27, 2019                                     /s/ Barbara A. McAuliffe
25                                                        UNITED STATES MAGISTRATE JUDGE

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